             Case: 23-1073                 Document: 75         Filed: 08/18/2023       Pages: 2



      UNITED STATES COURT OF APPEALS FOR THE SEVENTH CIRCUIT


         Everett McKinley Dirksen
                                                                                   Office of the Clerk
         United States Courthouse
                                                                                  Phone: (312) 435-5850
      Room 2722 - 219 S. Dearborn Street
                                                                                  www.ca7.uscourts.gov
           Chicago, Illinois 60604




                                              RULE TO SHOW CAUSE
August 18, 2023

                                      APPVION, INC. RETIREMENT SAVINGS AND EMPLOYEE
                                      STOCK OWNERSHIP PLAN, by and through Grant Lyon in his
                                      capacity as the ESOP Administrative Committee of Appvion, Inc.,
                                                   Plaintiff - Appellant
No. 23-1073
                                      v.

                                      DOUGLAS P. BUTH, et al.,
                                              Defendants - Appellees
Originating Case Information:
District Court No: 1:18-cv-01861-WCG
Eastern District of Wisconsin
District Judge William C. Griesbach


To:         Mr. Michael L. Scheier
            KEATING, MUETHING & KLEKAMP
            One E. Fourth Street
            1400 Provident Tower
            Suite 1400
            Cincinnati, OH 45202-0000


You have failed to file appellee's brief within the required time and no motion for an extension
of time within which to file appellee's brief has been made pursuant to Circuit Rule 26.

IT IS ORDERED that you, as appellee, show cause within fourteen (14) days of the date of this
order why this appeal should not be submitted to the Court for decision without a brief and
without oral argument by the appellee, pursuant to Circuit Rule 31(d).

IT IS FURTHER ORDERED that briefing is SUSPENDED pending further court order.
           Case: 23-1073            Document: 75    Filed: 08/18/2023   Pages: 2


Please caption your response:
"RESPONSE TO RULE TO SHOW CAUSE FOR APPELLEE "

form name: c7_Briefing_Showcause   (form ID: 114)
